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                                                                        FILED
                        UNITED STATES DISTRICT COURT              October 5, 2018
                       EASTERN DISTRICT OF CALIFORNIA            CLERK, US DSITRICT COURT
                                                                   EASTERN DISTRICT OF
                                                                        CALIFORNIA


UNITED STATES OF AMERICA,                    Case No. 2:18-mj-00181-CKD

                 Plaintiff,

      v.                                             ORDER FOR RELEASE OF
                                                      PERSON IN CUSTODY
TONY THATSANA

                 Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release TONY THATSANA Case No.

2:18-mj-00181-CKD Charge 18 USC § 371, 922(o); 26 USC § 5861(d), 5861(i)

from custody for the following reasons:

                       Release on Personal Recognizance

                       Bail Posted in the Sum of $

                              Unsecured Appearance Bond $

                              Appearance Bond with 10% Deposit

                              Appearance Bond with Surety

                              Corporate Surety Bail Bond

                          X   (Other): Order dismissing case.

      Issued at Sacramento, California on October 5, 2018 at 9:00 AM

                                    By:
